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                 EXHIBIT 4
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Freymann, Anna J.

From:                               Alter-AI-TT@simplelists.susmangodfrey.com on behalf of Briant, Jared B.
                                    <jared.briant@faegredrinker.com>
Sent:                               Monday, November 18, 2024 9:34 PM
To:                                 Freymann, Anna J.
Cc:                                 #Microsoft.NYClassAction.FDBR; 'nyclassactions_microsoft_ohs@orrick.com'; Scheibel,
                                    Elizabeth M.C.; Alejandra Salinas; Stoler, Reilly T.; 'Amber Magee'; Alter-TT (Alter-AI-
                                    TT@simplelists.susmangodfrey.com)
Subject:                            RE: [EXT] RE: AG v. OpenAI - Outstanding Discovery Issues - Request for M&C


Anna –

I’m writing to follow up on my email below, with respect to the discussion regarding licensing. In an effort to narrow
this dispute, we can agree to produce negotiations and non‐privileged communications in connection with license
agreements regarding the Relevant Large Language Models, as defined in Microsoft’s responses to Plaintiffs’ requests
for production, including licenses that include grants other than pretraining data.

We maintain all other objections with respect to relevance and the scope of the allegations in this case, including the
objections with respect to “LLMs other than OpenAI’s LLMs” set forth in my email below.

Jared B. Briant
Partner
jared.briant@faegredrinker.com
Connect: vCard

+1 303 607 3588 direct / +1 303 520 5987 mobile / +1 303 607 3600 fax

Faegre Drinker Biddle & Reath LLP
1144 15th Street, Suite 3400
Denver, Colorado 80202, USA

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recipient, please contact the sender by reply email and destroy all copies of the original message and any attachments.

From: Briant, Jared B.
Sent: Friday, November 15, 2024 6:13 PM
To: 'Freymann, Anna J.' <afreymann@lchb.com>
Cc: #Microsoft.NYClassAction.FDBR <MicrosoftNYClassActionFDBR@faegredrinker.com>;
'nyclassactions_microsoft_ohs@orrick.com' <nyclassactions_microsoft_ohs@orrick.com>; Scheibel, Elizabeth M.C.
<elizabeth.scheibel@faegredrinker.com>; Alejandra Salinas <ASalinas@susmangodfrey.com>; Stoler, Reilly T.
<rstoler@lchb.com>; 'Amber Magee' <AMagee@susmangodfrey.com>; Alter‐TT (Alter‐AI‐
TT@simplelists.susmangodfrey.com) <Alter‐AI‐TT@simplelists.susmangodfrey.com>
Subject: RE: [EXT] RE: AG v. OpenAI ‐ Outstanding Discovery Issues ‐ Request for M&C

Anna –



                                                              1
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As we discussed during the meet and confers, the allegations in the amended complaint center on OpenAI’s LLMs and
the training of those LLMs. They do not extend to LLMs other than OpenAI’s LLMs. The willfulness allegations in the
amended complaint are no different, as each and every one of the willfulness allegations with respect to each of the
individual plaintiffs’ works is based on alleged use of the works “to train OpenAI’s LLMs.” As such, Microsoft objected to
and appropriately tailored its responses to each of the RFPs you identified below because, among other things, the
requests seek information regarding LLMs that bear no relationship to the infringement allegations in the amended
complaint, which focus on the training of “OpenAI’s LLMs.” It is particularly surprising that one of the RFPs you
reference below is RFP 64, in which Plaintiffs are seeking “balance sheet, income statement, and cash flow statement”
documents for the entirety of Microsoft’s business and operations, without regard to product or service. Certainly you
are not contending that the allegations in the amended complaint entitle Plaintiffs to discovery into company‐wide
financials.

With respect to the Data Working Group, while I did state that not all members of the Data Working Group are lawyers,
your email below omits the fact that I specifically stated that the role of the nonlawyers participants was to support the
legal function and ultimately advise the company on legal matters. As such, the material is privileged.

We are still discussing your request regarding licensing with our client and I will follow up separately on that issue.

Jared B. Briant
Partner
jared.briant@faegredrinker.com
Connect: vCard

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From: Freymann, Anna J. <afreymann@lchb.com>
Sent: Friday, November 15, 2024 8:24 AM
To: Briant, Jared B. <jared.briant@faegredrinker.com>
Cc: #Microsoft.NYClassAction.FDBR <MicrosoftNYClassActionFDBR@faegredrinker.com>;
'nyclassactions_microsoft_ohs@orrick.com' <nyclassactions_microsoft_ohs@orrick.com>; Scheibel, Elizabeth M.C.
<elizabeth.scheibel@faegredrinker.com>; Alejandra Salinas <ASalinas@susmangodfrey.com>; Stoler, Reilly T.
<rstoler@lchb.com>; 'Amber Magee' <AMagee@susmangodfrey.com>; Alter‐TT (Alter‐AI‐
TT@simplelists.susmangodfrey.com) <Alter‐AI‐TT@simplelists.susmangodfrey.com>
Subject: RE: [EXT] RE: AG v. OpenAI ‐ Outstanding Discovery Issues ‐ Request for M&C


This Message originated outside your organization.




Jared,

As we discussed on the call yesterday, please provide Microsoft’s final position as to the following issues:

                                                              2
